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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         Miami Division

                              CASE NO.: 23-cv-24173-BLOOM/TORRES

 VIKRAM SINGH,

            Plaintiff,

 vs.

 CARNIVAL CORPORATION, d/b/a
 CARNIVAL CRUISE LINES,

       Defendant.
 _______________________________/

                     DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE TO
                             MOTION TO STAY DISCOVERY

            Defendant, Carnival Corporation, d/b/a Carnival Cruise Line, (“Carnival”), replies to

 Plaintiff’s Response to Defendant’s Motion to Stay Discovery [ECF No. 30], and states:

            Plaintiff’s Response is almost entirely a copy/paste of his response to Carnival’s Motion

 to Compel Arbitration. In fact, the only substantive change that Plaintiff made from pages 1

 through 11 of the Response was to add paragraph 3, which was on page 1. Compare ECF No. 23

 with ECF No. 30. That said, Carnival does not address those arguments here because it already

 did so in its fully-briefed Motion to Compel Arbitration. See ECF Nos. 19 and 24.

       I.       The Court should take a preliminary peek at Carnival’s Motion to Compel
                Arbitration.

            Despite what Plaintiff claims in the Response, Chudasama is on point. While Carnival’s

 Motion to Compel Arbitration is not exactly a motion to dismiss, it could eventually be

 dispositive. As the parties agreed, Plaintiff’s claims should be arbitrated and it is up to the

 arbitrator to decided the issue of arbitrability. If the arbitrator decides that this case is arbitrable,




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 the case will be arbitrated and will not be litigated in this Court. A preliminary peek at Carnival’s

 Motion to Compel Arbitration is thus permitted.

        In Response, Plaintiff relies almost entirely on Jackson v. Anheuser-Busch InBev SA/NV,

 LLC, 2021 WL 493959 (S.D. Fla. Feb. 10, 2021). Plaintiff’s reliance on the Jackson case is,

 however, misplaced and frankly, misleading to the Court. His choice is interesting, given that

 this Court wrote the Jackson opinion. In his lengthy block quote, Plaintiff omitted the key,

 distinguishing factor in Jackson, which is that there was no motion pending before the court. He

 then represented to this Court that the Jackson order required a pending motion to dismiss before

 it would address a motion to stay discovery. That is an incorrect interpretation of the case.

        In Jackson, the defendants moved to stay discovery in anticipation of filing a motion to

 dismiss the plaintiffs’ forthcoming second amended complaint. Id. at *1. The Court was “unable

 to assess the allegations” at issue because the plaintiffs had “yet to file their amended pleading.”

 Id. The defendants had not yet filed a motion to dismiss and therefore there was “nothing for the

 Court to take a preliminary peek at[.]” Id. (internal quotations omitted). The Court went on to

 state that “[w]ithout the benefit of Plaintiffs’ pleading and full briefing on Defendants’

 anticipated motion to dismiss, the instant Motion falls well short of placing the Court in a

 position to determine that a motion to dismiss by the Defendants would be both granted and case

 dispositive.” Id. The Court also noted that the defendants had not demonstrated any prejudice

 they would suffer if discovery continued. Id. Furthermore, the Court informed the parties that

 “[t]he Court will address any motion to dismiss filed by Defendants in due course, but for now,

 discovery may proceed.”

        In the instant case, there is a motion that will dispose of the case, for now, until an

 arbitrator determines the issue of arbitrability. In support of its Motion to Stay Discovery,



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 Carnival cited numerous cases in this District where courts granted a motion to stay discovery

 pending a motion to compel arbitration. See, e.g., Internaves De Mexico s.a. de C.V. v.

 Andromeda Steamship Corp., No. 16-81719-CIV, 2017 WL 7794599, at *1 (S.D. Fla. Feb. 24,

 2017) (hereinafter, “Internaves”) (granting motion to stay discovery pending motion to compel

 arbitration because of “judicial economy” and because “Defendants might also be prejudiced by

 participating in discovery.”), cited in Brooks v. Event Ent. Grp., Inc., No. 20-22185-CIV, 2020

 WL 5535346, at *1 (S.D. Fla. Sept. 15, 2020) (“The Court agrees ‘[i]t would be a waste of time

 and expense to require the [p]arties to exchange documents and interrogatories and depose

 witnesses when the Court may very well determine that the contract requires an arbitrator to

 resolve this dispute.’”); In re Managed Care Litig., No. 00-1334-MD, 2001 WL 664391, at *3

 (S.D. Fla. June 12, 2001) (“[T]he Court does find in its discretion sufficient justification to stay

 discovery for a limited period of time while the Court rules on the [defendant’s] motions to

 dismiss and to compel arbitration . . . .”). Plaintiff did not address any of these cases and instead

 cited some out of district cases which mention that a motion to stay discovery is generally

 disfavored absent a showing of good cause or prejudice.

        Carnival demonstrated good cause and made an adequate showing of prejudice here.

 Specifically, in support, Carnival argued that it would be a waste of time and expense to engage

 in discovery at this stage. Plaintiff served fifteen interrogatories and forty-six requests for

 production. In addition, on February 13, 2024, Plaintiff served a request for Carnival’s 30(b)(6)

 deposition. The deposition was unilaterally-set for March 14, 2024, and contains areas of inquiry

 and a duces tecum. Not staying discovery would be prejudicial to Carnival because it would

 circumvent the parties’ agreement to limit discovery and other costs associated with litigation.

 See ECF No. 19-1. Plaintiff’s conduct is exactly what the Eleventh Circuit has cited as in favor



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 of staying discovery. See Inman v. American Paramount Financial, 517 F. App’x 744, 749 (11th

 Cir. 2013) (“[D]elaying a ruling on a motion to dismiss ‘encourages abusive discovery and, if the

 court ultimately dismisses the claim, imposes unnecessary costs.’”) A stay of discovery pending

 Carnival’s Motion to Compel Arbitration would conserve the resources of the Court and the

 parties and would not prejudice Plaintiff.

        WHEREFORE, Defendant, Carnival Corporation, requests that the Court enter a stay of

 discovery until resolution of Defendant’s Motion to Compel Arbitration and to Stay, [ECF No.

 19], and grant Defendant such other and further relief as the Court deems just and proper.

                                              Respectfully submitted,

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